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             In the United States District Court
             for the Southern District of Georgia
                     Brunswick Division
GEORGIA REPUBLICAN PARTY, INC.,
et al.,

     Plaintiffs,
                                              No. 2:20-CV-135
     v.

BRAD RAFFENSPERGER, in his
official capacity as the
Secretary of State of Georgia
and Chair of the State Election
Board, et al.,

     Defendants.


                                 ORDER

     On December 18, 2020, the Court held a hearing on Plaintiffs’

Emergency Motion for Temporary Restraining Order and Preliminary

Injunction, dkt. no. 3. After fully considering the parties'

filings and oral arguments, and for the reasons stated on the

record, the Court DISMISSES Plaintiffs' Complaint, dkt. no. 1, for

lack of standing, and DENIES AS MOOT Plaintiffs’ Emergency Motion

for Temporary Restraining Order and Preliminary Injunction, dkt.

no. 3. Accordingly, this case is DISMISSED WITH PREJUDICE. The

Clerk is directed to TERMINATE all motions and deadlines and CLOSE

this case.
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 SO ORDERED, this 18th day of December, 2020.




                       HON.
                         N LISA
                            LISA GODBEY
                                 GO
                                  ODBEY WOOD,
                                        WOOD, JUDGE
                                              JUDGE
                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF GEORGIA




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